Case 0:19-cv-62401-UU Document 1 Entered on FLSD Docket 09/26/2019 Page 1 of 12



                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                                           CASE NO.

 HOWARD MICHAEL CAP LAN ,

                 Plaintiff,

                 vs.

 HAROLD         AUTO        REPAIR       &
 TRANSMISSION CORP., a Florida Profit
 Corporation, and LEJOS INVESTMENTS,
 LLC, a Florida Limited Liability Company,

           Defendants.
 _______________________________/

                                          COMPLAINT

 Plaintiff HOWARD MICHAEL CAPLAN (hereinafter “Plaintiff”), through the
 undersigned counsel, hereby files this complaint and sues HAROLD AUTO
 REPAIR & TRANSMISSION CORP. (“HAROLD”), and LEJOS INVESTMENTS, LLC,
 (“LEJOS”) (hereinafter, collectivel y referred to as “Defendants”), for declaratory
 and injunctive relief; for discrimination based on disabilit y; and for the
 resultant attorney's fees, expenses, and costs (including, but not limited to,
 court   costs    and   expert   fees),    pursuant   to   42   U.S.C.   §12181   et.   seq.,
 ("AMER ICANS W ITH DISABILITIES ACT OF 1990," or "ADA") and alleges:


 JURISDICTION
 1.      This Court is vested with original jurisdiction over this action pursuant to
 28 U.S.C. §1331 and § 1343 for Plaintiff’s claims arising under Title 42 U.S.C.
 §12181 et. seq., based on Defendant s’ violations of Title III of the Americans
 with Disabilities Act of 1990, (hereinafter referred to as the "ADA"). See also
 28 U.S.C. §2201 and §2202.


 VENUE

                                               1
Case 0:19-cv-62401-UU Document 1 Entered on FLSD Docket 09/26/2019 Page 2 of 12



 2.     The venue of all events giving rise to this lawsuit is located in BROWARD
 Count y, Florida. Pursuant to 28 U.S.C. §1391(B) and rule 3.1 of Local Rules of
 the United States District Court for the Southern District of Florida, this is the
 designated court for this suit.


 PARTIES
 3.     Plaintiff, HOWARD MICHAEL CAP LAN , is a resident of the State of
 Florida.   At the time of Plaintiff’s visit to Harold’s Auto Repair & Transmission
 (“Subject Facility”), Plaintiff suffered from a “qualified disability” under the ADA,
 which substantiall y limits Plaintiff’s major life activities, including but not
 limited to walking, and requires the use of a mobilit y aid . The Plaintiff
 personall y visited Harold’s Auto Repair & Transmission, but was denied full and
 equal access, and full and equal enjoyment of the facilities, services, goods, and
 amenities within Harold’s Auto Repair & Transmission, which is the subject of this
 lawsuit. The Subject Facilit y is an auto repair and Plaintiff wanted to inquire
 about their services , but was unable to due to the discriminatory barriers
 enumerated in Paragraph 15 of this Complaint.


 4.     In the alternative, Plaintiff, HOWARD MICHAEL CAPLAN , is an
 advocate of the rights of similarl y situated disabled persons and is a “tester” for
 the purpose of asserting his civil rights and monitoring, ensuring and
 determining whether places of public accommodation are in compliance with the
 ADA.


 5.     Defendants, HAROLD and LEJOS are authorized to conduct business and
 are in fact conducting business within the State of Florida. The Subject Facilit y
 is located at 2200 S.W. 57th Terrace, West Park, FL 33023. Upon information and
 belief, HAROLD is the lessee and/or operator of the Real Propert y and therefore
 held accountable of the violations of the ADA in the Subject Facilit y which is
 the matter of this suit. Upon information and belief, LEJOS is the owner and
 lessor of the Real Propert y where the Subject Facilit y is located and therefore

                                           2
Case 0:19-cv-62401-UU Document 1 Entered on FLSD Docket 09/26/2019 Page 3 of 12



 held accountable for the violations of the ADA in the Subject Facilit y which is
 the matter of this suit.


 CLAIMS: VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT
 6.    Plaintiff adopts and re -alleges the allegations stated in p aragraphs 1
 through 5 of this complaint, as are further explained herein.


 7.    On Jul y 26, 1990, Congress enacted the Americans w ith Disabilities Act
 ("ADA"), 42 U.S.C. §12101 et. seq. Commercial enterprises were provided one
 and a half years from enactment of the statute to implement its requirements.
 The effective date of Title III of the ADA was January 26, 1992, or January 26,
 1993 if Defendants had ten (10) or fewer employees and gross receipts of
 $500,000 or less. See 42 U.S.C. §12181; 28 C.F.R. §36.50 8(a).


 8.    As stated in 42 U.S.C. §12101(a) (1)-(3), (5) and (9), Congress found,
 among other things, that:

       i. some 43,000,000 Americans have one or more physical or mental
         disabilit y, and this number shall increase as the population continues to
         grow and age;

       ii. historicall y, societ y has tended to isolate and segregate individuals
         with disabilities and, despite some improvements, such forms of
         discrimination against disabled individuals continue to be a pervasive
         social problem, requiring serious attenti on;

       iii. discrimination against disabled individuals persists in such critical
         areas as employment, housing, public accommodations, transportation,
         communication, recreation, institutionalization, health services, voting
         and access to public services and public facilities;

       iv. individuals with disabilities           continuall y suffer    forms of
         discrimination,    including:    outright    intentional   exclusion;  the
         discriminatory     effects    of    architectural,    transportation,  and
         communication barriers; failure to make modificati ons to existing
         facilities and practices; exclusionary qualification standards and
         criteria; segregation, and regulation to lesser services, programs,
         benefits, or other opportunities; and,

                                         3
Case 0:19-cv-62401-UU Document 1 Entered on FLSD Docket 09/26/2019 Page 4 of 12




       v. the continuing existence of unfair and unnecessary discrimination and
         prejudice denies people with disabilities the opportunit y to compete on
         an equal basis and to pursue those opportunities for which this countr y
         is justifiabl y famous, and costs the United States billions of dollars in
         unnecessary expense s resulting from dependency and non -productivit y.

 9.    As stated in 42 U.S.C. §12101(b)(1)(2) and (4), Congress explicitl y stated
 that the purpose of the ADA was to:

       i. provide a clear and comprehensive national mandate for the elimination
         of discriminatio n against individuals with disabilities;

       ii. provide clear, strong, consistent, enforceable standards addressing
         discrimination against individuals with disabilities; and,

       iii. invoke the sweep of congressional authorit y, including the power to
         enforce the fourteenth amendment and to regulate commerce, in order to
         address the major areas of discrimination faced on a daily basis b y
         people with disabilities.

 10.   Pursuant to 42 U.S.C. §12181(7), and 28 CFR §36.104, Title III, no
 individual may be discrimina ted against on the basis of disabilit y with regards
 to the   full   and   equal   enjoyment   of   the   goods,   services,   facilities, or
 accommodations of any place of public accommodation by any person who
 owns, leases (or leases to), or operates a p lace of public accommodation.
 Harold’s Auto Repair & Transmission is a place of public accommodation by the fact
 it is an establishment that provides goods/services to the general public, and
 therefore, must compl y with th e ADA. The Subject Facility is open to the
 public, its operations affect commerce, and it is a service establishment . See 42
 U.S.C. Sec. 12181 (7) and 28 C.F.R. 36.104. Therefore, the Subject Facilit y is a
 public accommodation that must compl y with the AD A.


 11.   The Defendants have discriminated, and continue to discriminate against
 the Plaintiff, and others who are similarly situated, by denying access to, and
 full and equal enjoyment of goods, services, facilities, privileges, advan tages
 and/or accommodations at Harold’s Auto Repair & Transmission located at 2200 S.W.


                                           4
Case 0:19-cv-62401-UU Document 1 Entered on FLSD Docket 09/26/2019 Page 5 of 12



 57th Terrace, West Park, FL 33023, as prohibited by 42 U.S.C. §12182, and 42 U.S.C.
 §12101 et. seq.; and by failing to remove architectural barriers pursuant to 42
 U.S.C. §12182(b)(2)(A)(iv).


 12.   Plaintiff has visited the Subject Facilit y, and has been denied full, safe,
 and equal access to the facilit y and therefore suffered an injury in fact.


 13.   Plaintiff shall suffer a future injury as Plaintiff intends to return and
 enjoy the goods and/or services at the Subject Facilit y within the next six
 months. The Subject Facilit y is in close proximit y to Plaintiff’s residence and is
 in an area frequently travelled by Plaintiff. Furthermore, Plaintiff will also
 return to monit or compliance with the ADA. However, Plaintiff is precluded
 from doing so by the Defendants' failure and refusal to provide people with
 disabilities with full and equal access to their facilit y. Therefore, Plaintiff
 continues to suffer from discrimination and injury due to the architectural
 barriers, which are in violation of the ADA.


 14.   Pursuant to the mandates of 42 U.S.C. §12134(a), on Jul y 26, 1991, the
 Department of Justice, Office of the Attorney General, promulgated Federal
 Regulations to implement the requirements of the ADA. The ADA Accessibilit y
 guidelines (hereinafter referred t o as “ADAAG”), 28 C.F.R. Part 36, may cause
 violators to obtain civil penalties of up to $55,000 for the first violation and
 $110,000 for any subsequent violation.


 15.   The Defendants are in violation of 42 U.S.C. §12181 et. seq., and 28

 C.F.R. 36.302 et. seq., and are discriminating against the Plaintiff with the

 following specific violations which Plaintiff personall y encountered and/or has

 knowledge of:




                                           5
Case 0:19-cv-62401-UU Document 1 Entered on FLSD Docket 09/26/2019 Page 6 of 12



          a. The parking facility in front of the auto repair office does not provide a

               compliant accessible parking space. 2010 ADA Standards 502.1

          b. The parking facility does not have the minimum number of accessible

               parking spaces required. 2010 ADA Standards 208.2

          c. At time of inspection, in front of business there were several parking

               spaces occupied with customer cars and zero (0) accessible parking

               spaces. One (1) accessible parking space with adjacent access aisle is

               required. 2010 ADA Standards 208.2

          d. Where a total of four or fewer parking spaces, including accessible

               parking spaces, are provided on a site, identification of accessible parking

               spaces are not required by DOJ regulations. All other accessible routes and

               elements at the facility must be compliant. 2010 ADA Standards 216.5

          e.   The parking facility ground surface is rough, uneven and too steep.

               Access aisles must be at the same level as the parking spaces they serve.

               Changes in level are not permitted. Access aisles are required to be nearly

               level in all directions to provide a surface for wheelchair transfer to and

               from vehicles. The exception (not steeper than 1:48) allows sufficient

               slope for drainage.2010 ADA Standards 502.4

          f. The parking facility does not provide compliant directional and

               informational signage to a compliant accessible parking space. 2010 ADA

               Standards 216.5

          g. There is no compliant access aisle attached to an accessible route serving

               any existing parking space which would allow safe entrance or exit of



                                                6
Case 0:19-cv-62401-UU Document 1 Entered on FLSD Docket 09/26/2019 Page 7 of 12



               vehicle for accessible persons requiring mobility devices. 2010 ADA

               Standards 502.2

          h. There is currently no existing accessible route to help persons with

               disabilities safely maneuver through the parking facilities. Accessible

               routes must connect parking spaces to accessible entrances. In parking

               facilities where the accessible route must cross vehicular traffic lanes,

               marked crossings enhance pedestrian safety, particularly for people using

               wheelchairs and other mobility aids. 2010 ADA Standards 502.3

          i.   Existing facility does not provide a compliant accessible route to the main

               office entrance from any site arrival point. 2010 ADA Standards 206.2,

               208, 401.1

          j. The main office entrance door is non-compliant. There is a vertical rise

               (step) at the threshold exceeding the maximum rise allowed. Changes in

               level of 1/4 inch high maximum are permitted to be vertical. 2010 ADA

               Standards 302.2

          k. The main office door has a non-compliant knob type door handle.

               Operable parts must be operable with one hand and not require tight

               grasping, pinching, or twisting of the wrist. 2010 ADA Standards 309.4

          l. The facility does not provide compliant directional and informational

               signage to an accessible route which would lead to an accessible entrance.

               Where not all entrances comply, compliant entrances must be identified by

               the International Symbol of Accessibility. Directional signs that indicate




                                               7
Case 0:19-cv-62401-UU Document 1 Entered on FLSD Docket 09/26/2019 Page 8 of 12



              the location of the nearest compliant entrance must be provided at

              entrances that do not comply. 2010 ADA Standards 216.6

 16.   Upon information and belief there are other current violations of the ADA
 at Harold’s Auto Repair & Transmission. Onl y upon full inspection can all violations
 be identified. Accordingl y, a complete list of violations will require an on -site
 inspection by Plaintiff’s representatives pursuant to Rule 34b of the Federal
 Rules of Civil Procedure.


 17.   Upon information and belief, Plaintiff alleges that removal of the
 discriminatory barriers and violations is readil y achievable and technicall y
 feasible. To date, the readil y achievable barriers and other violations of the
 ADA still exist and have not been remedied or altered in such a way as to
 effectuate compliance with the provisions of the ADA.


 18.   Pursuant to the ADA, 42 U.S.C. §12101 et. seq., and 28 C.F.R. §36.304,
 the Defendants were required to make the establishment a place of public
 accommodation, accessible to persons with disabilities by January 28, 1992. As
 of this date the Defendants have failed to compl y with this mandate.


 19.   The Plaintiff has been obligated to retain the undersigned counsel for the
 filing and prosecution of this a ction. Plaintiff is entitled to have its reasonable
 attorney's fees, costs and expenses paid by the Defendants, pursuant to 42
 U.S.C. §12205.


 20.   Pursuant to 42 U.S.C. §12188, this Court is vested with the authorit y to
 grant Plaintiff injunctive relief, i ncluding an order to alter the subject facilities
 to make them readily accessible and useable by individuals with disabilities to
 the extent required by the ADA, and closing the Subject Facilit y until the
 requisite modifications are completed.




                                            8
Case 0:19-cv-62401-UU Document 1 Entered on FLSD Docket 09/26/2019 Page 9 of 12



 REQUEST FOR RELIEF
 WHEREFORE, the Plaintiff demands judgment against the Defendants and
 requests the following injunctive and declaratory relief:


 21. That this Honorable Court declares that the Subject Facility owned, operated
 and/or controlled by the Defendants is in violation of the ADA;


 22.   That this Honorable Court enter an Order requiring Defendants to alter the
 Subject Facilit y to make it accessible to and usable by individuals with
 disabilities to the full extent required by Title III of the ADA;


 23.   That this Honorable Court enter an Order directing the Defendants to
 evaluate and neutralize their policies, practices and procedures toward persons
 with disabilities, for such reasonable time so as to allow the Defendants to
 undertake and complete corrective p rocedures to the Subject Facilit y;


 24.   That this Honorable Court award reasonable attorney's fees, all costs
 (including, but not limited to court costs and expert fees) and other expenses of
 suit, to the Plaintiff; and


 25.   That this Honorable Court award such other and further relief as it deems
 necessary, just and proper.

 Dated this September 26, 2019.

 Respectfull y submitted by:

 Ronald E. Stern
 Ronald E. Stern, Esq.
 Florida Bar No. 10089
 THE ADVOCACY LAW FIRM, P.A.
 1250 East Hallandale Beach Boulevard , Suite 503
 Hallandale Beach, Florida 33009
 Telephone: (954) 639-7016
 Facsimile: (954) 639-7198

                                          9
Case 0:19-cv-62401-UU Document 1 Entered on FLSD Docket 09/26/2019 Page 10 of 12



  E-Mail: ronsternlaw@gmail.com
  Attorney for Plaintiff, HOWARD MICHAEL CAPLAN




                                       10
Case 0:19-cv-62401-UU Document 1 Entered on FLSD Docket 09/26/2019 Page 11 of 12



                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                                        CASE NO.

  HOWARD MICHAEL CAP LAN,

               Plaintiff,

               vs.

  HAROLD         AUTO        REPAIR       &
  TRANSMISSION CORP., a Florida Profit
  Corporation, and LEJOS INVESTMENTS,
  LLC, a Florida Limited Liability Company,

            Defendants.
  _______________________________/

                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on September 26, 2019, I electronicall y filed the
  Complaint along with a Summons for each Defendant with t he Clerk of Court
  using CM/ECF. I also certify that the aforementioned documents are being
  served on all counsel of record, corporations, or p ro se parties identified on the
  attached Service List in the manner specified via Service of Process by an
  authorized Process Server, and that all future pleadings, motions and documents
  will be served either via transmission of Notices of Electronic Filin g generated
  by CM/ECF or Via U.S. Mail for those counsel or parties who are not authorized
  to receive electronicall y Notices of Electronic Filing.

  By: Ronald E. Stern
  Ronald E. Stern, Esq.
  Florida Bar No.: 10089
  THE ADVOCACY LAW FIRM, P.A.
  1250 East Hallandale Beach Boulevard, Suite 503
  Hallandale Beach, Florida 33009
  Telephone: (954) 639-7016
  Facsimile: (954) 639-7198
  E-Mail: ronsternlaw@gmail.com
  Attorney for Plaintiff HOWARD MICHAEL CAPLAN




                                              11
Case 0:19-cv-62401-UU Document 1 Entered on FLSD Docket 09/26/2019 Page 12 of 12



                                 SERVICE LIST:

      HOWARD MICHAEL CAP LAN , Plaintiff, vs. HAROLD AUTO REPAIR &
   TRANSMISSION CORP., a Florida Profit Corporation, and LEJOS INVESTMENTS, LLC, a
                         Florida Limited Liability Company

             United States District Court Southern District Of Florida

                                     CASE NO.


  HAROLD AUTO REPAIR & TRANSMISSION CORP.

  REGISTERED AGENT:

  TAX & ACCOUNTING SOLUTIONS
  616 ATLANTIC SHORES BLVD
  HALLANDALE, FL 33009

  VIA PROCESS SERVER


  LEJOS INVESTMENTS, LLC

  REGISTERED AGENT:

  MOYA, LEO
  2200 SW 58TH AVENUE
  HOLLYWOOD, FL 33023

  VIA PROCESS SERVER




                                         12
